                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


NANCY A. STENCIL, et al.,

               Plaintiffs,

       v.                                                             Case No. 22-cv-00305-LA

RONALD H. JOHNSON, et al.,

            Defendants.
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 BRIEF OF AMICUS CURIAE WISCONSIN INSTITUTE FOR LAW & LIBERTY, INC.
    IN SUPPORT OF DEFENDANTS TIFFANY AND FITZGERALD’S MOTION TO
          DISMISS AND DEFENDANT JOHNSON’S MOTION TO DISMISS
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“The manifest function of the First Amendment in a representative government requires that

legislators be given the widest latitude to express their views on issues of policy.”

                                                     − Bond v. Floyd, 385 U.S. 116, 135-36 (1966)

                                        INTRODUCTION

       The Plaintiffs have filed a federal complaint alleging that a series of social media posts by

sitting members of Congress calling for election integrity constitutes “insurrection or rebellion”

against the United States. U.S. Const. amend. XIV, § 3. Appearing to violate both Fed. R. Civ. P.

8(a)(2)’s commandment of a “short and plain statement of the claim” and Rule 12(f)’s prohibition

on “immaterial, impertinent, or scandalous matter,” the Plaintiffs dress their basic request that the

Court penalize the political speech of elected legislators in 80 pages of florid prose alleging

shadowy conspiracies. But nowhere do the Plaintiffs allege with any specificity that these

Defendants broke any law or encouraged anyone else to do so. In an Orwellian invocation of

“democracy,” the Plaintiffs here want to prevent elected officials from running for re-election


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because they have expressed opinions that the Plaintiffs believe to be wrong and unsupported. “To

state such a case is to decide it.” Bartle v. Nutt, 29 U.S. 184, 188 (1830).

         This case should be dismissed.

                                                  ARGUMENT

A.       Federal Pleading Standards

         Under Fed. R. Civ. P. 8(a), “A pleading that states a claim for relief must contain . . . (2) a

short and plain statement of the claim showing that the pleader is entitled to relief . . . .” “To

survive a motion to dismiss” under Fed. R. Civ. P. 12(b)(6) for failure to state a claim, then, “a

complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). That is, the plaintiff must “plead[] factual content that allows

the court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Id. 1

         This requires “more than a sheer possibility that a defendant has acted unlawfully.” Id. It

requires more than the pleading of facts “that are ‘merely consistent with’ a defendant’s liability.”

Id. (quoting Twombly, 550 U.S. at 557). It requires more than “‘naked assertion[s]’ devoid of

‘further factual enhancement.’” Id. (quoting Twombly, 550 U.S. at 557) (alteration in original).

And, since courts need not accept as true asserted legal conclusions, it requires more than

“[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

statements.” Id.; see also id. at 678-79 (Rule 8 “does not unlock the doors of discovery for a

plaintiff armed with nothing more than conclusions”).




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 In addition, under Rule 12(f) “[t]he Court may strike from a pleading . . . any redundant, immaterial, impertinent, or
scandalous matter.”


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          Ultimately, “[d]etermining whether a complaint states a plausible claim for relief will . . .

be a context-specific task that requires the reviewing court to draw on its judicial experience and

common sense.” Id. at 679. As will be shown, common sense is sorely needed in this proceeding.

B.        The Plaintiffs’ Complaint Fails to State a Claim upon which Relief Can Be Granted

          Despite the prodigious length of the Plaintiffs’ complaint, precious few facts relate to the

Defendants (as opposed to non-defendants such as President Trump, Attorney General Bill Barr,

Attorney Sidney Powell, the individuals who entered the capitol on January 6, 2021, the

“fraudulent electors,” etc.) And the vast majority of those few facts relate to protected speech by

the Defendants shortly before and after the election. What remains cannot form the basis for a

complaint alleging “insurrection or rebellion.”

     i.    The Challenged Speech of the Defendants is Protected

          As it relates to the Defendants—the actual subjects of this lawsuit—most of the Complaint

targets speech relating to the November 2020 election, including speech online, in interviews, and

in writing. See Dkt. 1 at ¶¶37-38, 41, 64-65, 68, 72, 178, 182 (Fitzgerald); id. at 63, 66, 94-95,

103, 152-55, 178, 181 (Tiffany); id. at 71, 88-89, 99, 121-22, 129-31, 139, 141, 148-49, 178-80

(Johnson). The Plaintiffs themselves sheepishly admit as much. See id. at ¶¶13 (“Much of the

Defendants’ conduct presently known consists of words . . . .”); 56 (“[M]any of the crimes were

accomplished primarily using words.”). Words—like “here’s how we are going to rob this bank”

or “leave the ransom money in brown paper bags”—can effect criminal acts. But that’s not what

we have here. The speech the Plaintiffs target includes such dangerous and contemptible

statements as the following:

             •   “Americans want a transparent process that counts every legally cast ballot.” Id. at

                 ¶63;




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            •   “This is about the integrity of our system. Every legal vote must be counted,

                credible complaints of fraud and irregularities must be investigated, and legitimate

                legal challenges must be heard and addressed by our independent judiciary.” Id. at

                ¶103;

            •   “I share the concern of my Republican colleagues that we don’t want Congress

                coming in here and overturning the election or disenfranchising voters. I understand

                that. But we also can’t just dismiss these legitimate concerns.” Id. at ¶149.

        Thus, the Plaintiffs’ self-proclaimed strategy is to try to allege just enough to “unlock the

doors of discovery,” Iqbal, 556 U.S. at 678, so that they may go fishing. See id. at ¶3 (“[D]id

Defendants engage or otherwise assist in the insurrection through the conduct alleged in this

Complaint and their actions that will be revealed in discovery?”); id. at ¶186 (“[The Plaintiffs]

further assert that the conduct attributed to the Defendants in this Complaint (and that which will

be learned in discovery) constitutes engagement in the insurrection and/or the voluntary effort to

assist the insurrection.”).

        But they fail. The challenged speech—by legislators, advocating for election integrity—is

protected by the First Amendment.

        Over 50 years ago, in Bond v. Floyd, 385 U.S. 116 (1966), the Supreme Court rejected a

similar attempt to disqualify a legislator from holding office on the basis of political statements.

In that case Julian Bond, a member of the Georgia House of Representatives, criticized both the

draft and United States involvement in the Vietnam War in a telephone interview with a reporter.

Bond, 385 U.S. at 121. Bond further endorsed a statement of the Student Nonviolent Coordinating

Committee that, inter alia, declared that “for the most part, elections in this country, in the North

as well as the South, are not free. . . . We question, then, the ability and even the desire of the

United States government to guarantee free elections abroad.” Id. at 118-22. In response, 75

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Georgia House members challenged Bond’s right to be seated, arguing that his statements “gave

aid and comfort to the enemies of the United States and Georgia, violated the Selective Service

laws, and tended to bring discredit and disrespect on the House,” and were inconsistent with the

required oath prescribed by the Constitution of Georgia and the required oath to support the federal

constitution. Id. at 123. The Georgia House ultimately voted 184 to 12 that Bond could not be

seated as a member. Id. at 125.

       The Supreme Court held that the disqualification violated Bond’s right of free expression

under the First Amendment, rejecting any notion that Georgia could apply a stricter standard to its

legislators. Id. at 133, 137. It explained:

       The manifest function of the First Amendment in a representative government
       requires that legislators be given the widest latitude to express their views on issues
       of policy. The central commitment of the First Amendment . . . is that “debate on
       public issues should be uninhibited, robust, and wide-open.” . . . Just as erroneous
       statements must be protected to give freedom of expression the breathing space it
       needs to survive, so statements criticizing public policy and the implementation of
       it must be similarly protected.

Id. at 135-36 (quoting New York Times v. Sullivan, 376 U.S. 254, 270 (1964)).

       This case is controlled by Bond. Similar to the House members in that case, the Plaintiffs

are offended by political statements the Defendants made. Similar to the House members in that

case, the Plaintiffs allege that engaging in the challenged speech betrays the country and

disqualifies the speakers from holding office. But like the speech in Bond, the Defendants’

speech—at most, criticizing the manner in which the 2020 election was conducted and calling for

investigations and reform—is protected by the First Amendment.

       Not only that; the speech is at the very core of what the First Amendment is meant to

protect. See, e.g., Mills v. State of Ala., 384 U.S. 214, 218 (1966) (“Whatever differences may

exist about interpretations of the First Amendment, there is practically universal agreement that a

major purpose of that Amendment was to protect the free discussion of governmental affairs. This

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of course includes discussions of candidates, structures and forms of government, the manner in

which government is operated or should be operated, and all such matters relating to political

processes.”); Eu v. San Francisco Cty. Democratic Cent. Comm., 489 U.S. 214, 223 (1989)

(“Indeed, the First Amendment ‘has its fullest and most urgent application’ to speech uttered during

a campaign for political office.” (quoting Monitor Patriot Co. v. Roy, 401 U.S. 265 (1971))). The

Plaintiffs’ proposed rule that anyone who questions how an election in the United States is run is

barred from holding public office is utterly foreign to our constitutional order.

         But, the Plaintiffs may argue, this case is different than Bond because here there were others

who may well have heard the Defendants’ speech about the need to investigate fraud and to ensure

that votes are properly counted and then engaged in unlawful conduct. In this view, because the

Defendants, who were speaking shortly before and after the election, “should not” have thought

allegations of fraud were credible or harbored any concerns about the 2020 elections, they are

vicariously liable for the actions of those who agreed. This is preposterous. No case—at any time

or in any place—has ever said so.

   ii.    The Plaintiffs Do Not Plead Sufficient Factual Content to Show that the Defendants’
          Protected Speech was “Integral to Criminal Conduct”

         The Plaintiffs attempt to avoid this massive First Amendment problem by asserting that

“words integral to criminal conduct fall outside the scope of First Amendment protection.” Dkt. 1

at ¶13. That is, “speech or writing used as an integral part of conduct in violation of a valid criminal

statute” is not protected from prosecution simply because it is speech or writing. Giboney v.

Empire Storage & Ice Co., 336 U.S. 490, 498 (1949); cf. Rumsfeld v. F. for Acad. & Institutional

Rts., Inc., 547 U.S. 47, 62 (2006) (Congress can permissibly “prohibit employers from

discriminating in hiring on the basis of race” even though such a law “will require an employer to

take down a sign reading ‘White Applicants Only’”).



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        Importantly, this categorical speech-incident-to-crime exception is not a “free-floating test

for First Amendment coverage” whereby this Court is to conduct an “ad hoc balancing of relative

social costs and benefits” of the speech at issue. Instead, and for starters, the Plaintiffs must clearly

identify the valid prohibition of criminal conduct that the Defendants supposedly violated with

words like “Americans want a transparent process that counts every legally cast ballot.” Dkt. 1 at

¶63.

        Of course, the Plaintiffs are unable to do so. Words can be punished when they are used to

effectuate a wrongful act. An employer who puts up a “Whites Only” sign is not expressing an

opinion about race and employment; he is barring non-whites from applying for a job. A member

of the Weather Underground who robs a bank and kills a security guard is not simply claiming that

the Vietnam War was immoral or murderous; she is murdering someone. She is responsible for

her act. A Senator or journalist who condemns the war in the sharpest of terms, in contrast—even

if he or she is wrong or inaccurate—is not culpable for a terrorist’s act.

        The words spoken or written by the Defendants are not themselves criminal—they are

protected political speech. The best the Plaintiffs can muster is to argue that the “fraudulent

electors” (not parties here), in casting “alternate” electoral votes in contested states, violated

statutes ranging from forgery to impersonation of a public officer. But the Plaintiffs do not allege

that the Defendants committed any of this allegedly criminal conduct. Plaintiffs allege only that

the Defendants (and others) “supported” these individual’s actions—but importantly did so via

their speech (and not through words directed to these third parties), namely comments to the public

about election integrity. The Plaintiffs call this “express and/or tacit agreement” with these third

parties. Id. at ¶¶47-48, 114.

        There are many problems with this Rube Goldberg approach to attempting to punish the

Defendants for their political expression. But set aside the fact that it is wholly probable that the

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strategy of casting “alternate” electoral votes was a means of preserving legal options—whatever

one might think of its wisdom or propriety—and does not violate the statutes as alleged. And set

aside the fact that this is not a criminal proceeding in which the Defendants (or the alternate

electors, for that matter) have been charged by the government. Regardless of those inconvenient

facts, the Plaintiffs cannot tie protected political speech to the alleged criminal conduct of others

in order to escape dismissal through a naked and unsupported allegation of “conspiracy.” Cf.

Twombly, 550 U.S. at 553 (to state a claim for conspiracy in restraint of trade or commerce in

antitrust action under § 1 of the Sherman Act, “an allegation of parallel conduct and a bare assertion

of conspiracy will not suffice . . . a conclusory allegation of agreement at some unidentified point

does not supply facts adequate to show illegality”).

        Here the Plaintiffs have provided no evidence of such a conspiracy to commit a crime.

Aside from challenging core political speech, the Defendants largely point to two categories of

other facts: mere receipt of memoranda, briefings, or presentations, Dkt. 1 at ¶¶98, 122, 126, 132,

143, 150-51, 156 2; and official acts in Congress, id. at ¶¶122, 176. Neither of these sets of facts

indicate an agreement, tacit or otherwise, to do anything. For example, the Plaintiffs allege that

Defendant Johnson virtually attended a January 4, 2021 meeting at the Trump International Hotel.

Id. at ¶¶150-51. So what? The Complaint alleges this meeting was “to discuss potentially delaying

Biden’s election certification.” Id. at ¶150. But the Complaint does not allege that this was actually

discussed (and indeed suggests the opposite, id. at ¶151); does not allege that Johnson (or anyone

else) agreed to do anything; and in fact notes that any discussion of delay was tentative

(“potential[]”), id. at ¶150. This is no basis on which a Court can conclude that Defendant Johnson




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  The Complaint also alleges that Defendant Tiffany attended a “closed-door rally” following January 6 but does not
allege anything occurred at that rally relating to the electors. Dkt 1 at ¶181.


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conspired to commit a crime of any sort or even that Defendant Johnson said or did anything (much

less anything criminal) at the meeting.

       The Plaintiffs also allege that Defendant Fitzgerald “reserved meeting space in the State

Capitol on December 14, 2020 for the Republican Party of Wisconsin” and “facilitated” a “security

detail” for them. Id. at ¶¶101, 113. Again, so what? The Plaintiffs allege that it was at that meeting

that the “fraudulent electors” met to cast their “alternate” votes. Id. at ¶¶101-102; see id. at ¶8.

But once again, nowhere is it alleged that Defendant Fitzgerald said anything or agreed to do

anything at the meeting or actually engaged in criminal conduct. As explained above, to survive

a motion to dismiss the Plaintiffs must do more than plead facts “that are ‘merely consistent with’

a defendant's liability,” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 557), and must assert

“more than a sheer possibility that a defendant has acted unlawfully,” id. A room reservation is

not criminal.

       In sum, nowhere in their complaint are the Plaintiffs able to allege facts that support a

conclusion that the Defendants’ protected political speech was speech “integral to criminal

conduct,” which is why the Plaintiffs quietly concede that “it is plausible that some of the

conspirators”—read: the Defendants—“never met to discuss or expressly agree to the conspiracy.”

Id. at ¶48. And in the absence of the ability to penalize the Defendants’ speech, the Plaintiffs’ legal

theory collapses: do they really expect a Court to conclude that official acts in Congress and the

receipt of legal memoranda constitute “insurrection or rebellion” against the United States on par

with the actions of the Civil War Confederates?

        This case should be dismissed.

                                          CONCLUSION

       The irony of this case is completely lost on the Plaintiffs. They purport to abhor attacks on

the democratic process and the values our country holds dear. Yet they have filed a federal lawsuit

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seeking to unseat and disqualify duly-elected representatives on the basis of their political speech.

Much as the Plaintiffs might wish otherwise, Americans are allowed to ask questions about the

manner in which elections are held. 3 They are even allowed to call elections illegitimate or stolen,

if they wish. 4 Far from disqualifying these speakers from office, the First Amendment safeguards

their opinions from government penalty.

         The Plaintiffs’ complaint is insufficient to state a cause of action against the Defendants.

For the foregoing reasons, Amicus Wisconsin Institute for Law & Liberty, Inc. respectfully requests

that this Court dismiss this case with prejudice.

         Dated this 13th day of May, 2022.

                                              Respectfully submitted,

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 Contrary to the Plaintiffs’ insinuations otherwise, there is plenty of room for sincere criticism of the 2020 election.
See generally, e.g., Will Flanders et al., A Review of the 2020 Election, Wisconsin Institute for Law & Liberty, Inc. 9-
16 (Dec. 2021), available at https://will-law.org/wp-content/uploads/2022/04/2021ReviewStudy-V1.02.pdf.
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  Indeed, the tradition of doing so is bipartisan. See, e.g., Colby Itkowitz, Hillary Clinton: Trump is an ‘illegitimate
president’ (Sept. 26, 2019) (“Hillary Clinton dismissed President Trump as an ‘illegitimate president’ and suggested
that ‘he knows’ that he stole the 2016 presidential election in a CBS News interview to be aired Sunday.”), available
at https://www.washingtonpost.com/politics/hillary-clinton-trump-is-an-illegitimate-president/2019/09/26/29195d
5a-e099-11e9-b199-f638bf2c340f_story.html. Amicus suspects the Plaintiffs did not sue in 2019 to disqualify the
former secretary of state from holding political office.


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